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                       UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF LOUISIANA


                                                              CIVIL ACTION NO.:
HERMON HARRIS, JR., ET AL.,                                   13,212 SECTION A

                                                              CONSOLIDATEDWITH
                 v.
                                                              CIVIL ACTION NO.:
ST. JOHN THE BAPTIST PARISH SCHOOL                            90-cv-01669 SECTION A

BOARD, ET AL.,                                                HON. JAY C. ZAINEY
                                        Defendants.




TO: St. John the Baptist Parish School Board
    c/o Hammonds, Sills, Adkins & Guice, LLP
    2431 South Acadian Thruway, Suite 600
    Baton Rouge, LA 70808

                PLAINTIFFS’ INTERRROGATORIES,
           REQUESTS FOR PRODUCTION OF DOCUMENTS,
               AND REQUESTS FOR INSPECTION TO
      DEFENDANT ST. JOHN THE BAPTIST PARISH SCHOOL BOARD

      Pursuant to Rules 33 and 34 of the Federal Rules of Civil Procedure and Local Rules

33 and 34.1 of the Eastern District of Louisiana, Plaintiffs hereby serve their

Interrogatories, Requests for Production of Documents, and Requests for Inspection on

Defendant, St. John the Baptist Parish School Board (“Defendant”). Defendant’s responses

to the below discovery requests and Defendant’s production of responsive documents are

required no later than July 22, 2024 to counsel for Plaintiffs, the NAACP Legal Defense

and Educational Fund, Inc., via email to Victor Jones vjones@naacpldf.org, Victor

Genecin vgenecin@naacpldf.org, and Beth Caldwell bcaldwell@naacpldf.org.

                                     I.
                       DEFINITIONS AND INSTRUCTIONS

      A. DEFINITIONS:

1. As used herein, the following terms have the meanings set forth below:

   a) “You and your” mean Defendant Saint John the Baptist Parish School Board and
      its current and former members, employees, agents, attorneys and consultants.

   b) Communication. The term “communication” means the transmittal of information
      (in the form of facts, ideas, inquiries or otherwise).

   c) Document. The term “document” is defined to be synonymous in meaning and



                                      EXHIBIT 3                                       -1-
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      equal in scope to the usage of the term “documents or electronically stored
      information” in Fed. R. Civ. P. 34(a)(1)(A). A draft or non-identical copy is a
      separate document within the meaning of this term.

   d) Identify (with respect to persons). When referring to a person, "to identify"
      means to give, to the extent known, the person's full name, present or last known
      address, and when referring to a natural person, additionally, the present or last
      known place of employment. Once a person has been identified in accordance with
      this subparagraph, only the name of that person need be listed in response to
      subsequent discovery requesting the identification of that person.

   e) Identify (with respect to documents). When referring to documents, "to identify"
      means to give, to the extent known, the (i) type of document; (ii) general subject
      matter; (iii) date of the document; and (iv) author(s), addressee(s) and recipient(s).
      In the alternative, the responding party may produce the documents, together with
      identifying information sufficient to satisfy Fed. R. Civ. P. 33(d).

   f) Parties. The terms “plaintiff” and “defendant” as well as a party’s full or
      abbreviated name or a pronoun referring to a party mean the party and, where
      applicable, its officers, directors, employees, partners, corporate parent,
      subsidiaries or affiliates. This definition is not intended to impose a discovery
      obligation on any person who is not a party to the litigation.

   g) Person. The term “person” is defined as any natural person or any legal entity,
      including, without limitation, any business or governmental entity or association.

   h) Concerning. The term “concerning” means relating to, referring to, describing,
      evidencing or constituting.

   i) All/Any/Each. The terms “all,” “any,” and “each” shall each be construed as
      encompassing any and all.

   j) And/Or. The connectives “and” and “or” shall be construed either disjunctively or
      conjunctively as necessary to bring within the scope of the discovery request all
      responses that might otherwise be construed to be outside of its scope.

   k) Number. The use of the singular form of any word includes the plural and vice
      versa.

2. “The Orders” means and refers each and all of the following:

   a) That certain June 21, 1965 Order of the District Court in Harris v. St. John the
      Baptist Parish School Board;
   b) That certain November 4, 1965 Order of the District Court in Harris v. St. John the
      Baptist Parish School Board;
   c) That certain December 29, 1966 Fifth Circuit Order in United States v. Jefferson
      Cnty. Bd. of Educ., 372 F.2d 836 (5th Cir. 1966), aff’d on reh’g, 380 F.2d 385 (5th
      Cir. 1967);
   d) That certain July 7, 1967 Order of the District Court in Harris v. St. John the
      Baptist Parish School Board;
   e) That certain July 18, 1969 Order of the District Court in Harris v. St. John the
      Baptist Parish School Board, annexed as Ex. 2 to Pl.’s Mot. for Further Relief
      dated June 12, 2024 (Doc. 220-3);
   f) That certain December 1, 1969 Fifth Circuit Order in Singleton v. Jackson Mun.
      Separate Sch. Dist., 419 F.2d 1211, 1218 (5th Cir. 1969), rev’d on other grounds
      sub nom. Carter v. W. Feliciana Par. Sch. Bd., 396 U.S. 290 (1970); and,
   g) That certain November 20, 1992 Consent Order entered by the District Court in

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       Harris v. St. John the Baptist Parish School Board, see Doc. 53 and annexed as
       Ex. 3 to Pl.’s Mot. for Further Relief dated June 12, 2024 (Doc. 220-4).

3. “The Board” means and refers to Defendant Saint John the Baptist Parish School Board,
   its current and former members, collectively and individually, and any Board
   Representative.

4. “Board Representative” means and refers to any current or former representative,
   agent, employee, faculty member (including a teachers or substitute teacher),
   administrator, staff member, and any individual or entity who acts, has acted, purports
   to act, or has purported to act, on behalf of the Board.

       B. INSTRUCTIONS:

       1.     Answer each Interrogatory as completely as possible. If you continue to
object to any part of an Interrogatory after conferring with Plaintiff’s counsel as set forth
above, specify the part of the Interrogatory to which you object, and answer the
remainder.

        2.     Group and label the documents you produce to correspond to the categories
in this request.

       3.    If there are documents not currently in your possession, but that you can
obtain from other persons, such additional documents are included in this request.

       4.     If your response to any request is that responsive documents are not in your
possession or custody, describe in detail the unsuccessful efforts you made to locate the
records.

       5.      If your response to any request is that responsive documents are not in your
control, identify who has control and the location of the documents, and provide any
documents you have that contain all or part of the information contained in the requested
document or category.

       6.     If any requested document was, but no longer is, in your possession or
subject to your control, or has been misplaced, destroyed or discarded, or otherwise
disposed of, please so state, and for each such document provide:

          a. Its date;
          b. The identity of the person(s) who prepared the document;
          c. The identity of all persons who participated in preparing the document, to
             whom the document was sent or who have otherwise seen the document;
          d. The length of the document;
          e. The subject matter of the document;
          f. If misplaced, the last time and place it was seen and a description of efforts
             made to locate the document;
          g. If disposed of, the date of and reason for disposal, the manner of disposition
             (e.g., destroyed, transferred to a third party), the reason for disposal, the
             identity of the person(s) who authorized disposal and the identity of the
             person who disposed of the document.

   7. If you decline to produce any document in whole or in part because of a claim of
      privilege:

          a. Identify the subject matter, the type (e.g., letter, memorandum), the date,
             and the author of the communication or information, all persons that
             prepared or sent it, and all recipients or addressees;

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          b. Identify each person to whom the contents of each such communication or
             item of information have heretofore been disclosed, orally or in writing;
          c. Name the privilege that is claimed; and,
          d. Set forth the basis for the claim of privilege.

   8. Produce electronically stored information (“ESI”) in native format, with metadata
      intact.

   9. Contact the undersigned, with copies to all Plaintiffs’ counsel named herein, as
      soon as you conclude that any Request for Production set forth herein is
      ambiguous or unduly burdensome, or you confront any technical problem with
      extraction or production of communications or information, or you have any
      question about any aspect of this Request, and we will work with you to resolve
      the issue.

       C. SANCTIONS:

       Failure to comply with any part of this discovery request may be subject to the
       sanctions provided by the Federal Rules of Civil Procedure.

       D. SUPPLEMENTATION OF RESPONSES:

       These Interrogatories and Requests for Production are to be deemed continuing,
       requiring supplemental responses and productions in the event any responsive
       document is discovered, acquired by, or becomes known to you, after the date of
       your initial production.

       E. VERIFICATION:

       Your answers to Interrogatories must be accompanied by a Verification signed by
       each person who provided an answer, stating that each such answer is true and
       correct, and is made under oath. Failure to attach said Verification will necessitate
       the preparation and filing of a Motion to Compel, together with a request for
       sanctions.

                                         II.
                                  INTERROGATORIES

INTERROGATORY No. 1:

       Identify each person who has knowledge concerning any decision or action

proposed to, proposed by, or taken by, the Board to comply with the Orders.

INTERROGATORY No. 2:

       Identify each person responsible for maintaining records of the actions taken by the

Board to comply with the Orders from the entry of the first Order to the present.

INTERROGATORY No. 3:

       Identify each person whom the Board intends to call as a witness at the hearing

directed by the Court in this case.



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                                 III.
                REQUESTS FOR PRODUCTION OF DOCUMENTS

       1.     Produce copies of the videotapes or video links made by the Board of the

Board Workshops conducted on:

              (a) February 29, 2024; and,

              (b) April 25, 2024.

       2.     Produce a copy of the entirety of the redistricting proposal presented by the

Board at the public meetings held on January 30, January 31, and February 1, 2024.

       3.     Produce the geocoded file of school year 2023-24 student addresses.

       4.     Produce in an Excel spreadsheet, the current student enrollment data by: (1)

student identification number; (2) the student’s home address; (3) the student’s grade; (4)

the school the student attends; and (5) the race of the student.

       5.     Produce the Board's most recent capacity and occupancy data for each

school’s facility operated by the Board including any alternative school programs and the

St. John STEM Program.

       6.     Produce each copy of any of the Orders that was provided at any time to the

Board, together with documents sufficient to disclose the date or dates on which such copy

was provided to and considered by the Board.

       7.     Produce all documents concerning any decision or action proposed to,

proposed by, or taken by, the Board to comply with the Orders.

       8.     Produce documents sufficient to show:

              (a) The budgetary impact anticipated by the Board during school year 2024-

                  25 from closure of Fifth Ward Elementary School; and,

              (b) The budgetary impact anticipated by the Board during the first year of

                  district-wide re-zoning.

       9.     Produce each document or communication in the possession, custody or

control of the Board from 1968 to the present concerning:

              (a) Health risks presented by exposure to chloroprene;




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              (b) Any risk or danger to nearby schools posed by the plant formerly operated

                  by DuPont and currently operated by Denka; and

              (c) The indoor and outdoor air quality of Fifth Ward Elementary

       10.    Produce each document or communication in the possession, custody or

control of the Board that sets forth, describes, reports on, or concerns the level of

chloroprene detected by monitors at:

              (a) Any school operated by the Board; or,

              (b) Any other location.

       11.    Produce documents sufficient to disclose the history of each of the sites on

which Fifth Ward Elementary School, East St. John Preparatory Academy, and LaPlace

Elementary School is located with regard to:

              (a) Whether, and, if so, for what period of time, and in what way, a facility

                  on each site was de jure segregated;

              (b) All efforts made by the Board from 1963 to the present to eliminate

                  vestiges of the dual system at each site where a de jure segregated school

                  existed;

              (c) The racial composition of each school located on each site, annually,

                  from 1963 to the present;

              (d) The history, cost, and description of each of the facilities located on each

                  site from 1963 to the present;

              (e) All factors considered by the Board in choosing to build each of the

                  present schools on its present site.

       12.    Produce documents sufficient to disclose each occasion since January 1,

2015 on which students in an elementary school operated by the Board were temporarily

relocated from that school facility to another school facility, and:

              (a) The reason for such relocation;

              (b) The start and end dates of the relocation;

              (c) The racial and ethnic composition of the group of students thus relocated;

                  and,

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              (d) The transportation arrangements that were made to accommodate such

                  relocation, including:

                  (i) The average time in transit from each bus stop spent by students

                     before the relocation to reach the school from which they were

                     relocated; and,

                  (ii) The average time in transit from each bus stop spent by students

                     during the relocation to reach the school to which they were relocated.

       13.    Produce all documents the Board intends to introduce as exhibits at the

hearing on this matter.



                                       IV.
                             REQUESTS FOR INSPECTION

REQUEST FOR INSPECTION No. 1:

       Plaintiffs request to inspect the indoor and outdoor facilities, equipment, and

grounds of Fifth Ward Elementary School located in St. John the Baptist Parish, Louisiana

on: (i.) either July 29, July 30, or July 31, 2024, and (ii.) the same date as the schools that

are the subject of Plaintiffs’ Request for Inspection Nos. 2 and 3.

REQUEST FOR INSPECTION No. 2:

       Plaintiffs request to inspect the indoor and outdoor facilities, equipment, and

grounds of East St. John Preparatory Academy located in St. John the Baptist Parish,

Louisiana on: (i.) either July 29, July 30, or July 31, 2024, and (ii.) the same date as the

schools that are the subject of Plaintiffs’ Request for Inspection Nos. 1 and 3.

REQUEST FOR INSPECTION No. 3:

       Plaintiffs request to inspect the indoor and outdoor facilities, equipment, and

grounds of La Place Elementary School located in St. John the Baptist Parish, Louisiana

on: (i.) either July 29, July 30, or July 31, 2024, and (ii.) the same date as the schools that

are the subject of Plaintiffs’ Request for Inspection Nos. 1 and 2.




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Dated: June 20, 2024

                                          Respectfully submitted,

                                          /s/ Victor M. Jones
                                          Victor M. Jones (La. Bar No. 34937)
                                          *Victor Genecin
                                          *Elizabeth Caldwell
                                          NAACP LEGAL DEFENSE AND
                                          EDUCATIONAL FUND, INC.
                                          40 Rector Street,
                                          5th Floor
                                          New York, NY 10006
                                          Phone: (212) 985-2200
                                          Fax: (212) 226-7592
                                          vjones@naacpldf.org,
                                          vgenecin@naacpldf.org
                                          bcaldwell@naacpldf.org

                                          *Admitted Pro Hac Vice

                                          /s/ Gideon T. Carter, III.
                                          Gideon T. Carter, III. (La. Bar No.
                                          14136)
                                          P.O. Box 80264
                                          4962 Florida Blvd
                                          FL4
                                          Baton Rouge, LA
                                          70806
                                          Ph: (225) 214-1546
                                          Fax: (225) 341-8874
                                          Gideontcarter3d@gmail.com

                                          Counsel for Plaintiffs




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                       UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF LOUISIANA


                                                              CIVIL ACTION NO.:
HERMON HARRIS, JR., ET AL.,                                   13,212 SECTION A

                                                              CONSOLIDATEDWITH
                 v.
                                                              CIVIL ACTION NO.:
ST. JOHN THE BAPTIST PARISH SCHOOL                            90-cv-01669 SECTION A

BOARD, ET AL.,                                                HON. JAY C. ZAINEY
                                        Defendants.




TO: St. John the Baptist Parish School Board
    c/o Hammonds, Sills, Adkins & Guice, LLP
    2431 South Acadian Thruway, Suite 600
    Baton Rouge, LA 70808

                       PLAINTIFFS’ 2nd SET OF
           REQUESTS FOR PRODUCTION OF DOCUMENTS TO
       DEFENDANT ST. JOHN THE BAPTIST PARISH SCHOOL BOARD

      Pursuant to Rules 33 and 34 of the Federal Rules of Civil Procedure and Local Rules

33 and 34.1 of the Eastern District of Louisiana, Plaintiffs hereby serve their

Interrogatories, Requests for Production of Documents, and Requests for Inspection on

Defendant, St. John the Baptist Parish School Board (“Defendant”). Defendant’s responses

to the below discovery requests and Defendant’s production of responsive documents are

required no later than August 1, 2024 to counsel for Plaintiffs, the NAACP Legal Defense

and Educational Fund, Inc., via email to Victor Jones vjones@naacpldf.org, Victor

Genecin vgenecin@naacpldf.org, and Beth Caldwell bcaldwell@naacpldf.org.

                                     I.
                       DEFINITIONS AND INSTRUCTIONS

      A. DEFINITIONS:

1. As used herein, the following terms have the meanings set forth below:

   a) “You and your” mean Defendant Saint John the Baptist Parish School Board and
      its current and former members, employees, agents, attorneys and consultants.

   b) Communication. The term “communication” means the transmittal of information
      (in the form of facts, ideas, inquiries or otherwise).

   c) Document. The term “document” is defined to be synonymous in meaning and
      equal in scope to the usage of the term “documents or electronically stored



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      information” in Fed. R. Civ. P. 34(a)(1)(A). A draft or non-identical copy is a
      separate document within the meaning of this term.

   d) Identify (with respect to persons). When referring to a person, "to identify"
      means to give, to the extent known, the person's full name, present or last known
      address, and when referring to a natural person, additionally, the present or last
      known place of employment. Once a person has been identified in accordance with
      this subparagraph, only the name of that person need be listed in response to
      subsequent discovery requesting the identification of that person.

   e) Identify (with respect to documents). When referring to documents, "to identify"
      means to give, to the extent known, the (i) type of document; (ii) general subject
      matter; (iii) date of the document; and (iv) author(s), addressee(s) and recipient(s).
      In the alternative, the responding party may produce the documents, together with
      identifying information sufficient to satisfy Fed. R. Civ. P. 33(d).

   f) Parties. The terms “plaintiff” and “defendant” as well as a party’s full or
      abbreviated name or a pronoun referring to a party mean the party and, where
      applicable, its officers, directors, employees, partners, corporate parent,
      subsidiaries or affiliates. This definition is not intended to impose a discovery
      obligation on any person who is not a party to the litigation.

   g) Person. The term “person” is defined as any natural person or any legal entity,
      including, without limitation, any business or governmental entity or association.

   h) Concerning. The term “concerning” means relating to, referring to, describing,
      evidencing or constituting.

   i) All/Any/Each. The terms “all,” “any,” and “each” shall each be construed as
      encompassing any and all.

   j) And/Or. The connectives “and” and “or” shall be construed either disjunctively or
      conjunctively as necessary to bring within the scope of the discovery request all
      responses that might otherwise be construed to be outside of its scope.

   k) Number. The use of the singular form of any word includes the plural and vice
      versa.

2. “The Orders” means and refers each and all of the following:

   a) That certain June 21, 1965 Order of the District Court in Harris v. St. John the
      Baptist Parish School Board;
   b) That certain November 4, 1965 Order of the District Court in Harris v. St. John the
      Baptist Parish School Board;
   c) That certain December 29, 1966 Fifth Circuit Order in United States v. Jefferson
      Cnty. Bd. of Educ., 372 F.2d 836 (5th Cir. 1966), aff’d on reh’g, 380 F.2d 385 (5th
      Cir. 1967);
   d) That certain July 7, 1967 Order of the District Court in Harris v. St. John the
      Baptist Parish School Board;
   e) That certain July 18, 1969 Order of the District Court in Harris v. St. John the
      Baptist Parish School Board, annexed as Ex. 2 to Pl.’s Mot. for Further Relief
      dated June 12, 2024 (Doc. 220-3);
   f) That certain December 1, 1969 Fifth Circuit Order in Singleton v. Jackson Mun.
      Separate Sch. Dist., 419 F.2d 1211, 1218 (5th Cir. 1969), rev’d on other grounds
      sub nom. Carter v. W. Feliciana Par. Sch. Bd., 396 U.S. 290 (1970); and,
   g) That certain November 20, 1992 Consent Order entered by the District Court in
      Harris v. St. John the Baptist Parish School Board, see Doc. 53 and annexed as

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       Ex. 3 to Pl.’s Mot. for Further Relief dated June 12, 2024 (Doc. 220-4).

3. “The Board” means and refers to Defendant Saint John the Baptist Parish School Board,
   its current and former members, collectively and individually, and any Board
   Representative.

4. “Board Representative” means and refers to any current or former representative,
   agent, employee, faculty member (including a teachers or substitute teacher),
   administrator, staff member, and any individual or entity who acts, has acted, purports
   to act, or has purported to act, on behalf of the Board.

       B. INSTRUCTIONS:

       1.     Answer each Interrogatory as completely as possible. If you continue to
object to any part of an Interrogatory after conferring with Plaintiff’s counsel as set forth
above, specify the part of the Interrogatory to which you object, and answer the
remainder.

        2.     Group and label the documents you produce to correspond to the categories
in this request.

       3.    If there are documents not currently in your possession, but that you can
obtain from other persons, such additional documents are included in this request.

       4.     If your response to any request is that responsive documents are not in your
possession or custody, describe in detail the unsuccessful efforts you made to locate the
records.

       5.      If your response to any request is that responsive documents are not in your
control, identify who has control and the location of the documents, and provide any
documents you have that contain all or part of the information contained in the requested
document or category.

       6.     If any requested document was, but no longer is, in your possession or
subject to your control, or has been misplaced, destroyed or discarded, or otherwise
disposed of, please so state, and for each such document provide:

          a. Its date;
          b. The identity of the person(s) who prepared the document;
          c. The identity of all persons who participated in preparing the document, to
             whom the document was sent or who have otherwise seen the document;
          d. The length of the document;
          e. The subject matter of the document;
          f. If misplaced, the last time and place it was seen and a description of efforts
             made to locate the document;
          g. If disposed of, the date of and reason for disposal, the manner of disposition
             (e.g., destroyed, transferred to a third party), the reason for disposal, the
             identity of the person(s) who authorized disposal and the identity of the
             person who disposed of the document.

   7. If you decline to produce any document in whole or in part because of a claim of
      privilege:

          a. Identify the subject matter, the type (e.g., letter, memorandum), the date,
             and the author of the communication or information, all persons that
             prepared or sent it, and all recipients or addressees;


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          b. Identify each person to whom the contents of each such communication or
             item of information have heretofore been disclosed, orally or in writing;
          c. Name the privilege that is claimed; and,
          d. Set forth the basis for the claim of privilege.

   8. Produce electronically stored information (“ESI”) in native format, with metadata
      intact.

   9. Contact the undersigned, with copies to all Plaintiffs’ counsel named herein, as
      soon as you conclude that any Request for Production set forth herein is
      ambiguous or unduly burdensome, or you confront any technical problem with
      extraction or production of communications or information, or you have any
      question about any aspect of this Request, and we will work with you to resolve
      the issue.

      C. SANCTIONS:

      Failure to comply with any part of this discovery request may be subject to the
      sanctions provided by the Federal Rules of Civil Procedure.

      D. SUPPLEMENTATION OF RESPONSES:

      These Interrogatories and Requests for Production are to be deemed continuing,
      requiring supplemental responses and productions in the event any responsive
      document is discovered, acquired by, or becomes known to you, after the date of
      your initial production.

      E. VERIFICATION:

      Your answers to Interrogatories must be accompanied by a Verification signed by
      each person who provided an answer, stating that each such answer is true and
      correct, and is made under oath. Failure to attach said Verification will necessitate
      the preparation and filing of a Motion to Compel, together with a request for
      sanctions.


                                III.
               REQUESTS FOR PRODUCTION OF DOCUMENTS

   14. Produce copies of the videotapes or video links made by the Board, of the Board

      Meeting conducted on January 18, 2024, with the full audio available for such

      videotapes or video links.

Dated: July 2, 2024

                                                 Respectfully submitted,

                                                 /s/ Victor M. Jones
                                                 Victor M. Jones (La. Bar No. 34937)
                                                 *Victor Genecin
                                                 *Elizabeth Caldwell
                                                 NAACP LEGAL DEFENSE AND
                                                 EDUCATIONAL FUND, INC.
                                                 40 Rector Street,
                                                 5th Floor

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                                    vjones@naacpldf.org,
                                    vgenecin@naacpldf.org
                                    bcaldwell@naacpldf.org

                                    *Admitted Pro Hac Vice

                                    /s/ Gideon T. Carter, III.
                                    Gideon T. Carter, III. (La. Bar No.
                                    14136)
                                    P.O. Box 80264
                                    4962 Florida Blvd
                                    FL4
                                    Baton Rouge, LA
                                    70806
                                    Ph: (225) 214-1546
                                    Fax: (225) 341-8874
                                    Gideontcarter3d@gmail.com

                                    Counsel for Plaintiffs




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                            CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a copy of the foregoing document was served upon all

Counsel of Record via electronic mail on this 2nd day of July, 2024.


                                                 /s/ Victor M. Jones______________
                                                 Victor M. Jones (La. Bar No. 34937)
                                                 NAACP LEGAL DEFENSE AND
                                                 EDUCATIONAL FUND, INC.
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                            CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that a copy of the foregoing document was served upon all

Counsel of Record via electronic mail on this 20th day of June, 2024.


                                                 /s/ Victor M. Jones______________
                                                 Victor M. Jones (La. Bar No. 34937)
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